

ORDER

PER CURIAM:
AND NOW, this 14th day of October, 1994, Everett P. Priestley having been suspended until further order from the practice of law in the State of Delaware by Order of the Supreme Court of the State of Delaware dated May 23, 1994; the said Everett P. Priestley having been directed on August 10, 1994, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Everett P. Priestley is suspended from the practice of law in this Commonwealth pursuant to the Order of the Supreme Court of the State of Delaware dated May 23,1994, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
MONTEMURO, J., is sitting by designation.
